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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                               AMARILLO DIVISION


 PRESIDENT DONALD J. TRUMP, an
 individual, and REPRESENTATIVE RONNY
 JACKSON, an individual,
                                                      Case No. 2:24-cv-00236-Z
                             Plaintiffs,

        v.

 PARAMOUNT GLOBAL d/b/a
 PARAMOUNT, a Delaware corporation, CBS
 BROADCASTING INC., a New York
 corporation, and CBS INTERACTIVE INC.,
 a Delaware corporation,

                             Defendants.


   SECOND AMENDED RULE 7.1 DISCLOSURE STATEMENT FOR DEFENDANT
                     CBS BROADCASTING INC.

       Pursuant to Fed. R. Civ. P. 7.1 and Local Rule 7.4, Defendant Paramount Global provides

the following information:

       For a nongovernmental corporate party, the name(s) of its parent corporation and any

publicly held corporation that owns 10% or more of its stock: CBS Broadcasting Inc. is a wholly-

owned subsidiary of Paramount Global. Paramount Global is a publicly traded company. National

Amusements, Inc., a privately held company, beneficially owns the majority of the Class A voting

stock of Paramount Global. In addition, Paramount Global is only aware, without further inquiry,

that, as reported on a Form 13F filed with the Securities and Exchange Commission on February

11, 2025, Vanguard Group Inc. beneficially owns 10% or more of Paramount Global’s total

common stock, i.e., Class A and Class B on a combined basis.



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       The following is a complete list of all persons, associations of persons, firms, partnerships,

corporations, guarantors, insurers, affiliates, parent or subsidiary corporations, or other legal

entities that are financially interested in the outcome of the case: CBS Interactive Inc., CBS

Broadcasting Inc., Paramount Global, and National Amusements, Inc.


Dated: March 6, 2025

                                              /s/ Thomas C. Riney                    .

                                              UNDERWOOD LAW FIRM, P.C.

                                              Thomas C. Riney
                                              State Bar No. 16935100
                                              C. Jason Fenton
                                              State Bar No. 24087505
                                              PO Box 9158 (79105-9158)
                                              500 S. Taylor, Suite 1200
                                              Amarillo, TX 79101
                                              Telephone: (806) 376-5613
                                              Facsimile: (806) 379-0316
                                              tom.riney@uwlaw.com
                                              jason.fenton@uwlaw.com

                                              JACKSON WALKER LLP

                                              Marc A. Fuller
                                              State Bar No. 24032210
                                              2323 Ross Ave., Ste. 600
                                              Dallas, TX 75201
                                              Telephone: (214) 953-6000
                                              Facsimile: (214) 953-5822
                                              mfuller@jw.com

                                              DAVIS WRIGHT TREMAINE LLP

                                              Elizabeth A. McNamara (admitted pro hac vice)
                                              Jeremy A. Chase (admitted pro hac vice)
                                              Alexandra Perloff-Giles (admitted pro hac vice)
                                              1251 Avenue of the Americas, 21st Floor
                                              New York, NY 10020
                                              Telephone: (212) 489-8230


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                                     elizabethmcnamara@dwt.com
                                     jeremychase@dwt.com
                                     alexandraperloffgiles@dwt.com

                                     Attorneys for Paramount Global, CBS Broadcasting
                                     Inc., and CBS Interactive Inc.




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